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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


 United States of America,
                                                         Criminal No. 3:11cr1 (JBA)
        v.

 Joseph Reyes and Richard Daniels                        February 19, 2013


                        RULING ON POST–TRIAL MOTIONS

       On August 29, 2012, Defendants Richard Daniels and Joseph Reyes were

convicted by a jury of conspiracy to distribute and to possess with intent to distribute

narcotics, in violation of 21 U.S.C. §§ 841(b)(1)(A)(i), 841(b)(1)(A)(iii) and 846 (Count

One), and conspiracy to maintain a drug–involved premises within 1000 feet of a public

housing facility, in violation of 21 U.S.C. §§ 846 and 860 (Count Two). (See Jury Verdict

[Doc. # 544].) With respect to the narcotics distribution conspiracy, the jury found that

the quantity of drugs involved in the conspiracy that was reasonably foreseeable to

Defendants was one kilogram or more of heroin and 280 grams or more of cocaine base

(“crack cocaine”). (See id.) Defendant Reyes was also convicted of possession of a

firearm—a Taurus .40 caliber handgun, Model PT140—by a convicted felon, in violation

of 18 U.S.C. §§ 922(g)(1) and 924(a)(2) (Count Three). (See id.)

       Defendant Daniels now moves [Doc. # 553] pursuant to Federal Rule of Criminal

Procedure 29 for a judgment of acquittal on both conspiracy counts, arguing that there

was insufficient evidence as to the existence of a conspiracy or his membership in the

alleged conspiracy to distribute narcotics and to maintain a drug–involved premises, and

that there was insufficient evidence as to the quantity of heroin that was reasonably

foreseeable to him. Defendant Reyes moves [Doc. # 567] pursuant to Federal Rules of
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Criminal Procedure 29 and 33 for a judgment of acquittal on all counts or, in the

alternative, for a new trial, on which his grounds reprise his arguments that there was

insufficient evidence as to his membership in the charged conspiracy or that it was the

object of the conspiracy to distribute one kilogram or more of heroin, bolstered by his

arguments previously raised in his motion [Doc. # 510] for a mistrial regarding the

inadvertent introduction of evidence of a shooting incident. For the following reasons,

Defendants’ motions are denied.

I.      Legal Standard

        “A Rule 29 motion [for a judgment of acquittal] should be granted only if the

district court concludes there is no evidence upon which a reasonable mind might fairly

conclude guilt beyond a reasonable doubt.” United States v. Irving, 452 F.3d 110, 117 (2d

Cir. 2006) (internal quotations omitted). The Court must view the evidence presented at

trial in the light most favorable to the Government, and draw all reasonable inferences in

its favor.” United States v. Cote, 544 F.3d 88, 98 (2d Cir. 2008). “[I]t is well settled that

‘Rule 29(c) does not provide the trial court with an opportunity to substitute its own

determination of . . . the weight of the evidence and the reasonable inferences to be drawn

for that of the jury.’” Id. at 99 (quoting United States v. Guandagna, 183 F.3d 122, 129 (2d

Cir. 1999)). “The Court must give full play to the right of the jury to determine

credibility.” Id. “A defendant challenging the sufficiency of the evidence that was the

basis of his conviction at trial bears a heavy burden.” United States v. Hawkins, 547 F.3d

66, 70 (2d Cir. 2008) (internal quotations and citations omitted).

        Under Federal Rule of Criminal Procedure 33, the Court has the discretion to

grant a new trial “if the interest of justice so requires,” particularly where there is “a real

concern that an innocent person may have been convicted.” United States v. Canova, 412


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F.3d 331, 349 (2d Cir. 2005). “In the exercise of its discretion, the court may weigh the

evidence and credibility of witnesses,” Cote, 544 F.3d at 101, but “[i]t is only where

exceptional circumstances can be demonstrated that the trial judge may intrude upon the

jury function of credibility assessment.” Id. (quoting United States v. Sanchez, 969 F.2d

1409, 1414 (2d Cir. 1992)). While courts have broader discretion to grant a new trial

under Rule 33 than to grant an acquittal under Rule 29, “courts must nonetheless exercise

Rule 33 authority sparingly and in the most extraordinary of circumstances.” Id.

II.      Discussion

         A.     Motion for a Judgment of Acquittal

         Defendants Reyes and Daniels both move for a judgment of acquittal on the

grounds that there was insufficient evidence for the jury to conclude beyond a reasonable

doubt that they joined a conspiracy to distribute narcotics and to maintain a drug–

involved premises, and that the quantity of narcotics involved in that conspiracy was one

kilogram or more of heroin and 280 grams or more of crack cocaine.

                1.     Existence of the Conspiracy and Membership in the Conspiracy

         The Third Superseding Indictment [Doc. # 349] alleges that Defendants and their

co–conspirators entered into a single conspiracy to (1) distribute narcotics (Count One),

and (2) to maintain 105/107 Johnson Street as a drug–involved premises (Count Two).

Defendants Reyes and Daniels argue, however, that while the Government may have

established that there were multiple conspiracies in which individuals charged in the

indictment sold their own narcotics out of 105/107 Johnson Street, the evidence

presented at trial was insufficient to prove the existence of an overall conspiracy to

distribute heroin and cocaine base at that location on behalf of the group, and to maintain

105/107 Johnson as a drug–involved premises, or to show that Defendants Reyes and


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Daniels joined such a conspiracy. Defendants Daniels and Reyes argue that, at most, the

Government presented sufficient evidence to show that they each distributed their own

supply of narcotics from the same location. Defendant Reyes also raises the argument

that he could not have conspired to “maintain” 105/107 Johnson Street because the home

was occupied by several tenants who were not affiliated with the gang, and Defendant

Reyes did not live there.

       “To determine whether the government sufficiently proved the indicted

conspiracy when the defendant claims that the government used multiple, distinct

conspiracies to prove one conspiracy, [a c]ourt focuses on what agreement, if any, the

jury could reasonably have found to exist vis–a–vis each defendant.” United States v.

Hamilton, 323 F. App’x 27, 29 (2d Cir. 2009) (quoting United States v. Johansen, 56 F.3d

347, 351 (2d Cir. 1995)) (internal quotation marks omitted).    “To do this, [a c]ourt first

reviews the scope of the criminal enterprises actually proven at trial to evaluate whether

any of them fits the pattern of the conspiracy alleged in the indictment.” Id. (quoting

Johansen, 56 F.3d at 351) (internal quotation marks omitted). “Second, [a c]ourt weighs

the defendant’s conduct and statements to determine whether a jury could reasonably

infer that he participated in the alleged enterprise with a consciousness of its general

nature and extent.” Id. (quoting Johansen, 56 F.3d at 351.)

       Despite Defendants’ arguments that the evidence showed only that each

individual sold his own supply of drugs to his own customers at 105/107 Johnson Street,

there was sufficient evidence presented at trial from which a jury could have inferred that

there was a single conspiracy to operate 105/107 Johnson Street as a drug–involved

premises and to distribute cocaine base and heroin from that premises. Specifically, the

Government’s evidence at trial tended to show that the co–conspirators dominated a


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portion of 105/107 Johnson Street, primarily the front porch and the kitchen, as the base

of distribution for their narcotics distribution scheme, and that they controlled the

activities within that location. The jury heard testimony that both Mr. Daniels and Mr.

Reyes, along with the other co-conspirators, were members of the Sex Money Murder

gang, which sold heroin and crack out of 105/107 Johnson Street. (See, e.g., Trial Tr.

(“Tr.”) at 429–30, 433, 439, 442, 446, 502, 987–91.) The members of the gang sold crack

and heroin from 105/107 Johnson Street every day, (see id. 436–37, 442, 446, 470, 502–04,

989–91), and stored their narcotics in several locations within 105/107 Johnson Street

when they were not engaged in a sale (see id. at 495–98; Exs. 128, 130, 138). Members of

the gang also provided free drugs to the residents of the house to have them test the

quality of the drugs being sold. (See Tr. at 451–53, 1000–02) The jury could have

reasonably inferred that members of the gang also provided these narcotics free of charge

in exchange for the use of 105/107 Johnson Street as a base of operations for their

distribution enterprise.   Furthermore, cooperating witnesses testified that the gang

determined who was permitted to sell drugs from this location. (See id. at 435, 454–55,

499, 605–06.)

       This level of control is sufficient to establish that a single conspiracy existed, and

that the members of that conspiracy “maintained” 105/107 Johnson Street as a drug–

involved premises, as charged in Count Two of the Third Superseding Indictment. See

United States v. Snow, 462 F.3d 55, 71 (2d Cir. 2006) (“Nor is evidence required that [a

defendant] actually lived at the premises; all that is required is that he have ‘opened or

maintained’ it.”); United States v. Russell, 595 F.3d 633, 644 (6th Cir. 2010) (“To satisfy

the ‘maintaining’ element of the statute, it is not necessary that the defendant lease or

own the home”); Morgan, 117 F.3d at 857–58 (5th Cir. 1996) (finding evidence that


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defendant exercised a supervisory role at an apartment over a duration of several months,

stored his drugs at the apartment and referred to the apartment as “our spot” was

sufficient to show he maintained it and directing courts to be “mindful of the conditions

under which crackhouse operations are often conducted. Drug dealers who maintain a

location for the purpose of selling drugs may not avoid conviction under the crackhouse

statute by simply ensuring that the lease or deed for the location and the utilities, if any,

are not in their name.”).

       In addition, with respect to the drug distribution conspiracy count, the narcotics

sold at 105/107 Johnson Street by gang members was packaged in a similar manner (see

Tr. at 454–55, 1004–05), and was frequently sold under the same “brand names”—e.g.,

Take Over, Max Pain (see id. at 456, 1005). The jury also heard testimony that the

members of the gang worked together in the distribution of narcotics. When new

customers came to 105/107 Johnson Street, the members of the gang would rotate who

got to make the next sale. (See id. at 494.) Occasionally, one member of the gang would

sell drugs from 105/107 Johnson Street on behalf of another member. (See id. at 1064; Ex.

55.) The Government also presented evidence that the more senior members of the gang

would sell larger quantities of drugs to other members of the gang to break up and sell to

their own customers. (See Tr. at 473, 476; Exs. 72, 76–77, 93.) One member of the gang,

Angel Millan, stored narcotics and guns for other members of the gang at his house near

105/107 Johnson Street. (See Tr. at 1026–27, 1057; Ex. 60.) The gang also held meetings,

called “moons” to discuss gang business. (See Tr. at 1047; Ex. 72.) Furthermore, there was

testimony that the gang worked together to avoid detection by law enforcement officers.

For example, gang members used code when speaking with each other, such as

“shwammys” for guns, “dog food” or “paper” for heroin, and “plastic” or “hard” for crack


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cocaine. (See Tr. at 463, 459, 1007, 1010, 1019.) On at least one occasion, Defendant

Daniels warned Defendant Reyes that ATF officers were watching 105/107 Johnson

Street. (See id. at 1041–42; Ex. 49.) This evidence, taken together, was sufficient for a

jury to conclude that a single conspiracy existed to distribute narcotics as alleged in

Count One of the Third Superseding Indictment. See, e.g., United States v. Williams, 205

F.3d 23, 33 (2d Cir. 2000) (“A single conspiracy may be found where there is mutual

dependence among the participants, a common aim or purpose or a permissible inference

from the nature and scope of the operation, that each actor was aware of his part in a

larger organization where others performed similar roles equally important to the success

of the venture.”); United States v. Cirillo, 499 F.2d 872, 888 (1974) (holding that evidence

that co–conspirators used narcotics code language supports a finding of a single

conspiracy).

       The evidence presented at trial was also sufficient to show that both Defendant

Reyes and Defendant Daniels were members of this overarching conspiracy. Cooperating

witnesses testified that Defendants Reyes and Daniels were members of the Sex Money

Murder gang (see Tr. at 429–30, 433, 979–80), and that they dealt crack cocaine and

heroin out of 105/107 Johnson Street (see id. at 426–27, 448, 1068). Defendants Reyes

and Daniels also used gang terminology, such as “paper,” “dog food,” “schwammy,” and

“moon” when discussing the operations at 105/107 Johnson Street. (See, e.g., Exs. 49, 67,

71–72.)   The Government presented evidence that Daniels purchased narcotics for

redistribution by other members of the gang—specifically, that he sold heroin to

Defendant Reyes who in turn supplied the rest of the dealers at 105/107 Johnson Street.

(See Tr. at 473. 476; Exs. 72, 76–77, 93) This evidence belies Defendant Daniels’s

argument that he did not have a “stake” in the conspiracy because he was actually a


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source of supply for the street–level dealers in the gang, and his business therefore

depended to some extent on their success. There was also testimony that occasionally

another individual would sell narcotics on Defendant Daniels’s behalf (see Tr. at 614), and

that he steered customers to 105/107 Johnson Street to purchase narcotics from other

members of the gang (see Exs. 66–67). One cooperating witness testified that Mr. Daniels

and another gang member oversaw the drug operation at 105/107 Johnson Street. (See

Tr. at 502.) Thus, the jury could have concluded that the testimony that Defendant

Daniels did not spend as much time at 105/107 Johnson Street as the other co–

conspirators was consistent with his role as a manager. This evidence was sufficient for

the jury to find that Defendants Daniels knowingly and willfully joined the conspiracy

charged in Counts One and Two of the Third Superseding Indictment.

       The jury also heard evidence that Defendant Reyes often supplied other gang

members with the heroin and crack that they sold out of 105/107 Johnson Street (see id. at

473, 476), that he gave the residents of 105/107 Johnson Street free heroin in order to test

the quality of the drugs (see id. at 453), that he blended and packaged heroin for sale out

of 105/107 Johnson Street (see id. at 78), and that occasionally other members of the gang

would sell narcotics on his behalf (see id. at 492–94, 1064.) Furthermore, there was also

evidence presented at trial based on which the jury could have inferred that Defendant

Reyes oversaw the day–to–day operations at 105/107 Johnson Street. For example, in one

intercepted telephone conversation, a member of the gang called Mr. Reyes to report that

another member of the gang had stolen his drugs. (See Ex. 52: “Listen my n*gga. I’m

sorry, I’m sorry I gotta do this right now. I’m sorry, know what I’m saying? That I gotta

come to you while you’re with our baby at the, at the pumpkin factory and all that no lie,

and not for nothin’ my n*gga, this n*gga Cuda, this n*gga stealing from us my n*gga.”)


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Defendant Reyes replied that he would come to 105/107 Johnson Street and discipline the

alleged thief. (See id.: “Yo, soon as I bum out there I’m definitely ‘bout to tell him ‘bout

some hard sh*t, like yo, you finished my n*gga. You keep n*gga work and sh*t you

dead.”) This evidence was sufficient for the jury to find that Defendants Reyes knowingly

and willfully joined the conspiracy charged in Counts One and Two of the Third

Superseding Indictment.

               2.      Reasonably Foreseeable Quantity of Drugs

       In order to sustain the jury verdict on Count One, the Government also had to

prove that it was reasonably foreseeable to Defendants Reyes and Daniels that the charged

conspiracy involved at least 280 grams of cocaine base and one kilogram of heroin. See

United States v. Gonzalez, 420 F.3d 111, 125 (2d Cir. 2005). Both Defendants argue that

the Government failed to establish that the conspiracy involved one kilogram or more of

heroin.1 Defendant Daniels argues that even if the Government could prove that the

conspiracy involved 280 grams or more of cocaine base and one kilogram or more of

heroin, the evidence was insufficient to show that these quantities were attributable to

him.   Defendant Reyes argues that because he was not a kilogram–quantity “drug

kingpin,” the sale of one kilogram or more of heroin was not the “object” of the

conspiracy he joined and thus he could not have been convicted as charged.




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         Neither Defendant Reyes nor Defendant Daniels appears to challenge the
quantity of crack cocaine involved in the conspiracy. Cooperating witnesses testified that
the members of the gang sold between eight and twenty–one “eight–balls” of crack
cocaine per week. (See Tr. at 752–53, 1025.) Each eight ball contains three and a half
grams of crack cocaine. (See id. at 666, 752.) Thus, based on the low end of these
estimates, it would have taken the co–conspirators only about ten weeks to sell 280 grams
of crack cocaine. The conspiracy was charged for the period from January 2010 to
January 2011. (See Third Superseding Indict. ¶¶ 1, 4.)
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       The evidence at trial, viewed in the light most favorable to the Government, was

sufficient to show that the 105/107 Johnson Street drug trafficking operation involved at

least one kilogram of heroin during the time period charged in the Third Superseding

Indictment. During trial, Agent Dinnan testified that a $10 bag of heroin contained 0.01

grams (see Tr. at 681), and Agent King testified that a $10 bag of heroin contained 0.03

grams (see id. at 162). However, the chemical analyses of the narcotics seized from the

gang’s customers showed that five $10 bags of heroin contained 0.25 grams, or an average

of 0.05 grams of heroin per bag. (See id. at 913–16; Ex. 248.) Agent Dinnan also testified

that a “brick” of heroin—i.e., 100 $10 bags—contains 5 grams of heroin, or an average of

0.05 grams per bag. (See Tr. at 681–82.) Cooperating witnesses testified that the gang

sold between five and fifteen “bundles”—i.e., 10 $10 bags—every day. (See id. at 455, 476,

1040). Thus, at the high end, the gang sold 7.5 grams of heroin per day, and would have

sold one kilogram within less than five months.

       Despite Defendant Daniels’s argument that he spent less time at 105/107 Johnson

Street and thus would not have been able to foresee the full extent of the gang’s drug sales,

the jury heard testimony that Defendant Daniels purchased narcotics for redistribution

by other gang members (see Exs. 72, 76–77, 93), and that he oversaw the operation at

105/107 Johnson Street (see Tr. at 502). As discussed above, the jury could have inferred

that the testimony that Defendant Daniels spent less time at 105/107 Johnson Street was

consistent with his role as a manager, rather than an indication of his reduced

involvement in the conspiracy. Therefore, there was sufficient evidence from which the

jury could have concluded that it was reasonably foreseeable to him, given the pace and

volume of the gang members’ drug dealing, that the conspiracy involved one kilogram or

more of heroin and 280 grams or more of cocaine base, even though no one transaction


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ever approached that quantity.      Similarly, the Government presented evidence that

Defendant Reyes was present at 105/107 Johnson Street nearly every day (see id. at 436–

437), and that he frequently supplied narcotics to other members of the gang (see id. at

473, 476). Thus, there was sufficient evidence from which the jury could have concluded

that it was reasonably foreseeable to Defendant Reyes that the conspiracy involved one

kilogram or more of heroin and 280 grams or more of cocaine base.

       Furthermore, as to Defendant Reyes’s argument that it is improper to charge him

with this narcotics conspiracy because he was not a large–quantity dealer and that he

could not be deemed to have conspired to sell one kilogram of heroin solely via the

aggregation of many smaller–quantity transactions, the Second Circuit has previously

considered and rejected such arguments. See United States v. Pressley, 469 F.3d 63, 65–66

(2d Cir. 2005) (finding that § 841 “specifically included within its focus those managers of

the retail level traffic . . . because they keep the street markets going” and holding that a

conspiracy “is an illegal agreement that may, and often does encompass an array of

substantive illegal acts carried out in furtherance of the overall scheme. Within the

context of a conspiracy to distribute large amounts of narcotics, these subsidiary crimes

may take the form of a series of smaller drug sales.” (internal quotation marks and

citations omitted)). During closing arguments, counsel for Defendant Reyes argued

several times to the jury that Defendant Reyes was not the type of kilogram–quantity

dealer that is typically targeted in FBI investigations, and that it would have taken

thousands of transactions to aggregate the large quantities charged in the Third

Superseding Indictment, (see Tr. 1457, 1460–61), but the jury evidently was not

persuaded. It was proper for the jury to rely on the aggregation of these smaller–quantity

sales based on evidence presented at trial that Defendant Reyes was a source of supply for


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the other members of the conspiracy (see id. at 473. 476), and for dealers who sold

narcotics at other locations (see id. at 454–55, 474). Thus, while Defendant Reyes may

not have been targeting kilogram–size transactions, there was evidence that he was more

than just a street–level dealer in that he targeted transactions that involved larger than

single–use quantities, and that as a supplier of other members of the conspiracy, his

success depended to some extent on these other dealers entering into as many small–scale

transactions as possible.

       For the reasons discussed above, Defendants Reyes and Daniels have not met their

heavy burden under Rule 29 of establishing that there was insufficient evidence upon

which the jury could have relied to find them guilty, and thus a judgment of acquittal is

not warranted in this case.

       B.      Motion for a New Trial

       Defendant Reyes also moves for a new trial. In his motion, Defendant Reyes

reiterates his claim that there was insufficient evidence to convict him on any of the

counts charged, and concludes that the jury’s guilty verdict can therefore only be

explained as the result of prejudice stemming from the inadvertent introduction at trial of

testimony that he was involved in a shooting incident with another gang member. This

argument was previously raised in Defendant’s oral motion for a mistrial, and rejected by

this Court. (See Order [Doc. # 540].) The jury received a limiting instruction (see Tr. at

535–37) to disregard the testimony about the shooting incident between Defendant Reyes

and a cooperating witness, and the Court has no basis for believing that the jury was

unable to or did not follow this instruction, nor was this testimony “devastating” to the

outcome of the trial. See United States v. Elfgeeh, 515 F.3d 100, 127 (2d Cir. 2008)

(“Where an inadmissible statement is followed by a curative instruction, the court must


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assume that the jury will follow an instruction to disregard inadmissible evidence

inadvertently presented to it, unless there is an overwhelming probability that the jury

will be unable to follow the court’s instructions and a strong likelihood that the effect of

the evidence would be devastating to the defendant.”)

       Contrary to Defendant Reyes’s claims, there was ample evidence presented at trial

to establish his guilt as to each count of the Third Superseding Indictment. Specifically,

as is discussed above in Part II.A, the Government presented extensive evidence tending

to show that Defendant Reyes joined a single conspiracy to distribute narcotics and to

maintain 105/107 Johnson Street as a drug–involved premises, that the alleged conspiracy

involved one or more kilograms of heroin and 280 or more grams of cocaine base, and

that these quantities were reasonably foreseeable to Defendant Reyes as the object of the

conspiracy which he had joined.        Furthermore, because the inadvertently admitted

testimony involved evidence of gun possession, rather than the narcotics distribution

operation at 105/107 Johnson Street, it is less likely that potential prejudice resulting from

this evidence would have motivated the jury to convict Defendant Reyes on the counts

unrelated to firearms. Thus, Defendant Reyes’s argument that a guilty verdict on Counts

One and Two could only have been motivated by improper prejudice stemming from the

inadmissible evidence regarding the shooting incident is without merit.

       Defendant Reyes also argues that he could only have been found guilty of

possessing a firearm as a convicted felon (Count Three) because the jury improperly

considered the inadvertently admitted testimony regarding the incident in which he fired

a gun at a cooperating witness during a fight. Specifically, Defendant Reyes argues that

the only evidence tying him to possession of the Taurus identified in the Third

Superseding Indictment was the testimony of a cooperating witness who was not credible,


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and who was contradicted by the testimony of another witness.        During trial Lakesha

Bowles testified that she agreed to purchase a .40 caliber Taurus handgun for Defendant

Reyes (see Tr. at 793–821; Exs. 58, 73, 97–98), and that she went to a gun store,

Connecticut Firearms, where Defendant Reyes and another co–conspirator picked out

weapons, and gave her money to purchase them (see Tr. at 793–94, 797–807). They then

went to several Wal–Mart stores to purchase ammunition for these guns, and when she

dropped Defendant Reyes and his co–conspirator off at 105/107 Johnson Street, they took

the two guns that had been purchased and most of the ammunition with them. (See id. at

810–17.)

       The owner of the gun store, Robert Rich, also testified during trial. He stated that

he had made suggestions to Ms. Bowles regarding which weapons to buy, and that

Defendant Reyes did not appear to be leading her purchase. (See id. at 728–29.) While

this partially contradicts Ms. Bowles’s testimony, she also admitted during trial that she

had signed a “straw purchase” form at the store verifying that she was the intended owner

of the guns, thereby concealing the fact that the guns were actually intended for

Defendant Reyes and his co–conspirator. (See Ex. 216.) Given the somewhat defensive

tenor of Mr. Rich’s testimony, and his incentive to limit his potential liability stemming

from a straw purchase occurring at his establishment, the jury could have inferred that,

after receiving this form, Mr. Rich turned a blind eye to whether Defendant Reyes had

any role in the purchase, and concluded that Ms. Bowles’s testimony was credible. The

weighing of Bowles’s and Rich’s testimony was for the jury, as the Second Circuit has

recognized that “the proper place for a challenge to a witness’s credibility is in cross–

examination and in subsequent argument to the jury.” United States v. Roman, 870 F.2d

65, 71 (2d Cir. 1989) (internal quotation marks omitted). Counsel for Defendant Reyes


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challenged Ms. Bowles’s credibility during his closing arguments (see Tr. at 1474–78), but

the jury apparently rejected this challenge. The Court does not view Ms. Bowles’s

testimony regarding the circumstances under which the firearm was purchased as so

lacking in credibility that it should reject the jury’s assessment of her testimony. See

United States v. Sanchez, 969 F.2d 1409, 1414 (2d Cir. 1992) (“It is only where exceptional

circumstances can be demonstrated that the trial judge may intrude upon the jury

function of credibility. Where testimony is patently incredible or defies physical realities,

it may be rejected by the court, despite the jury’s evaluation.” (internal citations

omitted)). In addition to Bowles’s testimony about purchasing the .40 caliber Taurus for

Reyes, there was additional testimony by cooperating witness David Johnson that

Defendant Reyes had possessed a .40 caliber weapon, which he eventually traded for

another firearm. (See Tr. at 479–81, 484, 487; Exs. 94, 108.) Thus, there was ample

evidence presented at trial for the jury to conclude that Defendant Reyes had possessed

the .40 caliber Taurus handgun as charged in the Third Superseding Indictment.

       For the reasons discussed above, the potential bias from the inadvertently

admitted evidence does not present such an extraordinary case that there is a real concern

that an innocent man may have been convicted, and therefore the Court concludes that a

new trial is not warranted.




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IV.    Conclusion

       For the foregoing reasons, Defendant Daniels’s Motion [Doc. # 553] for a

Judgment of Acquittal is DENIED, and Defendant Reyes’s Motion [Doc. # 567] for a

Judgment of Acquittal, and in the Alternative for New Trial is DENIED.



                                           IT IS SO ORDERED.

                                              /s/
                                           Janet Bond Arterton, U.S.D.J.


                      Dated at New Haven, Connecticut this 19th day of February, 2013.




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